          Case 1:13-cr-10007-SOH                           Document 162         Filed 06/06/14                Page 1 of 7 PageID #: 706
$2%    5HY -XGJPHQWLQD&ULPLQDO&DVH
                6KHHW



                                            81,7('67$7(6',675,&7&2857
                                                                Western 'LVWULFWRI
                                                            BBBBBBBBBB District of BBBBBBBBBB
                                                                                     Arkansas

                81,7('67$7(62)$0(5,&$                                             JUDGMENT IN A CRIMINAL CASE
                                    v.
                          CURTIS J. COLE                                             &DVH1XPEHU 1:13CR10007-005
                                                                                     8601XPEHU 11384-010
                                                                                     David P. Price
                                                                                     'HIHQGDQW¶V$WWRUQH\
THE DEFENDANT:
✔SOHDGHGJXLOW\WRFRXQW V
G                                        Fourteen of the Indictment on January 27, 2014

G SOHDGHGQRORFRQWHQGHUHWRFRXQW V
   ZKLFKZDVDFFHSWHGE\WKHFRXUW
G ZDVIRXQGJXLOW\RQFRXQW V
   DIWHUDSOHDRIQRWJXLOW\

7KHGHIHQGDQWLVDGMXGLFDWHGJXLOW\RIWKHVHRIIHQVHV

Title & Section                     Nature of Offense                                                            Offense Ended           Count
 21 U.S.C. §§ 841(a)(1)              Distribution of More Than 50 Grams of Methamphetamine,                       11/15/2012              14

 & (b)(1)(B)(viii) and               Aiding and Abetting

 18 U.S.C. § 2

        7KHGHIHQGDQWLVVHQWHQFHGDVSURYLGHGLQSDJHVWKURXJK         7        RIWKLVMXGJPHQW7KHVHQWHQFHLVLPSRVHGE\UHIHUULQJ
WRWKH866HQWHQFLQJ*XLGHOLQHVDVRQO\DGYLVRU\ZLWKWKHVWDWXWRU\UDQJHIRURIIHQVH V 
G 7KHGHIHQGDQWKDVEHHQIRXQGQRWJXLOW\RQFRXQW V
✔&RXQW V
G                 1                                           ✔ LV
                                                              G       G DUHGLVPLVVHGRQWKHPRWLRQRIWKH8QLWHG6WDWHV
         ,WLVRUGHUHGWKDWWKHGHIHQGDQWPXVWQRWLI\WKH8QLWHG6WDWHVDWWRUQH\IRUWKLVGLVWULFWZLWKLQGD\VRIDQ\FKDQJHRIQDPHUHVLGHQFH
RUPDLOLQJDGGUHVVXQWLODOOILQHVUHVWLWXWLRQFRVWVDQGVSHFLDODVVHVVPHQWVLPSRVHGE\WKLVMXGJPHQWDUHIXOO\SDLG,IRUGHUHGWRSD\UHVWLWXWLRQ
WKHGHIHQGDQWPXVWQRWLI\WKHFRXUWDQG8QLWHG6WDWHVDWWRUQH\RIPDWHULDOFKDQJHVLQHFRQRPLFFLUFXPVWDQFHV

                                                                              6/3/2014
                                                                             'DWHRI,PSRVLWLRQRI-XGJPHQW


                                                                              /s/ Susan O. Hickey
                                                                             6LJQDWXUHRI-XGJH




                                                                              Honorable Susan O. Hickey, United States District Judge
                                                                             1DPHDQG7LWOHRI-XGJH


                                                                             June 6, 2014
                                                                             'DWH
          Case 1:13-cr-10007-SOH                     Document 162               Filed 06/06/14        Page 2 of 7 PageID #: 707
$2%      5HY -XGJPHQWLQ&ULPLQDO&DVH
            6KHHW²,PSULVRQPHQW

                                                                                                         -XGJPHQW²3DJH   2       RI   7
'()(1'$17 CURTIS J. COLE
&$6(180%(5 1:13CR10007-005


                                                              IMPRISONMENT

         7KHGHIHQGDQWLVKHUHE\FRPPLWWHGWRWKHFXVWRG\RIWKH8QLWHG6WDWHV%XUHDXRI3ULVRQVWREHLPSULVRQHGIRUD
WRWDOWHUPRI
 One hundred sixty-eight (168) Months, with credit for time served in federal custody.




    ✔
    G 7KHFRXUWPDNHVWKHIROORZLQJUHFRPPHQGDWLRQVWRWKH%XUHDXRI3ULVRQV
 -That the defendant serve his term of imprisonment at a Bureau of Prisons medical facility.
 -That the defendant be enrolled in the Intensive Drug Treatment Program.
 -That the defendant enroll in a GED program and a vocational training program.

    ✔
    G 7KHGHIHQGDQWLVUHPDQGHGWRWKHFXVWRG\RIWKH8QLWHG6WDWHV0DUVKDO

    G 7KHGHIHQGDQWVKDOOVXUUHQGHUWRWKH8QLWHG6WDWHV0DUVKDOIRUWKLVGLVWULFW
          G DW                                       G DP      G SP         RQ                                             

          G DVQRWLILHGE\WKH8QLWHG6WDWHV0DUVKDO

    G 7KHGHIHQGDQWVKDOOVXUUHQGHUIRUVHUYLFHRIVHQWHQFHDWWKHLQVWLWXWLRQGHVLJQDWHGE\WKH%XUHDXRI3ULVRQV
          G EHIRUHSPRQ                                                

          G DVQRWLILHGE\WKH8QLWHG6WDWHV0DUVKDO
          G DVQRWLILHGE\WKH3UREDWLRQRU3UHWULDO6HUYLFHV2IILFH


                                                                    RETURN
,KDYHH[HFXWHGWKLVMXGJPHQWDVIROORZV




          'HIHQGDQWGHOLYHUHGRQ                                                           WR

D                                                     ZLWKDFHUWLILHGFRS\RIWKLVMXGJPHQW



                                                                                                      81,7('67$7(60$56+$/


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                                                                                                   '(387<81,7('67$7(60$56+$/
            Case 1:13-cr-10007-SOH                      Document 162              Filed 06/06/14            Page 3 of 7 PageID #: 708
$2%       5HY -XGJPHQWLQD&ULPLQDO&DVH
             6KHHW²6XSHUYLVHG5HOHDVH
                                                                                                                 -XGJPHQW²3DJH        3      RI        7
'()(1'$17 CURTIS J. COLE
&$6(180%(5 1:13CR10007-005
                                                           SUPERVISED RELEASE
8SRQUHOHDVHIURPLPSULVRQPHQWWKHGHIHQGDQWVKDOOEHRQVXSHUYLVHGUHOHDVHIRUDWHUPRI
Four (4) Years

        7KHGHIHQGDQWPXVWUHSRUWWRWKHSUREDWLRQRIILFHLQWKHGLVWULFWWRZKLFKWKHGHIHQGDQWLVUHOHDVHGZLWKLQKRXUVRIUHOHDVHIURPWKH
FXVWRG\RIWKH%XUHDXRI3ULVRQV
7KHGHIHQGDQWVKDOOQRWFRPPLWDQRWKHUIHGHUDOVWDWHRUORFDOFULPH
7KHGHIHQGDQWVKDOOQRWXQODZIXOO\SRVVHVVDFRQWUROOHGVXEVWDQFH7KHGHIHQGDQWVKDOOUHIUDLQIURPDQ\XQODZIXOXVHRIDFRQWUROOHG
VXEVWDQFH7KHGHIHQGDQWVKDOOVXEPLWWRRQHGUXJWHVWZLWKLQGD\VRIUHOHDVHIURPLPSULVRQPHQWDQGDWOHDVWWZRSHULRGLFGUXJWHVWV
WKHUHDIWHUDVGHWHUPLQHGE\WKHFRXUW
G 7KHDERYHGUXJWHVWLQJFRQGLWLRQLVVXVSHQGHGEDVHGRQWKHFRXUW¶VGHWHUPLQDWLRQWKDWWKHGHIHQGDQWSRVHVDORZULVNRI
      IXWXUHVXEVWDQFHDEXVH(Check, if applicable.)

✔ 7KHGHIHQGDQWVKDOOQRWSRVVHVVDILUHDUPDPPXQLWLRQGHVWUXFWLYHGHYLFHRUDQ\RWKHUGDQJHURXVZHDSRQ(Check, if applicable.)
G
✔ 7KHGHIHQGDQWVKDOOFRRSHUDWHLQWKHFROOHFWLRQRI'1$DVGLUHFWHGE\WKHSUREDWLRQRIILFHU(Check, if applicable.)
G

G 7KHGHIHQGDQWVKDOOFRPSO\ZLWKWKHUHTXLUHPHQWVRIWKH6H[2IIHQGHU5HJLVWUDWLRQDQG1RWLILFDWLRQ$FW      86&et seq
  DVGLUHFWHGE\WKHSUREDWLRQRIILFHUWKH%XUHDXRI3ULVRQVRUDQ\VWDWHVH[RIIHQGHUUHJLVWUDWLRQDJHQF\LQZKLFKKHRUVKHUHVLGHV
      ZRUNVLVDVWXGHQWRUZDVFRQYLFWHGRIDTXDOLI\LQJRIIHQVH(Check, if applicable.)

G 7KHGHIHQGDQWVKDOOSDUWLFLSDWHLQDQDSSURYHGSURJUDPIRUGRPHVWLFYLROHQFH(Check, if applicable.)
        ,IWKLVMXGJPHQWLPSRVHVDILQHRUUHVWLWXWLRQLWLVDFRQGLWLRQRIVXSHUYLVHGUHOHDVHWKDWWKHGHIHQGDQWSD\LQDFFRUGDQFHZLWKWKH
6FKHGXOHRI3D\PHQWVVKHHWRIWKLVMXGJPHQW
         7KHGHIHQGDQWPXVWFRPSO\ZLWKWKHVWDQGDUGFRQGLWLRQVWKDWKDYHEHHQDGRSWHGE\WKLVFRXUWDVZHOODVZLWKDQ\DGGLWLRQDOFRQGLWLRQV
RQWKHDWWDFKHGSDJH

                                          STANDARD CONDITIONS OF SUPERVISION
         WKHGHIHQGDQWVKDOOQRWOHDYHWKHMXGLFLDOGLVWULFWZLWKRXWWKHSHUPLVVLRQRIWKHFRXUWRUSUREDWLRQRIILFHU
         WKHGHIHQGDQWVKDOOUHSRUWWRWKHSUREDWLRQRIILFHULQDPDQQHUDQGIUHTXHQF\GLUHFWHGE\WKHFRXUWRUSUREDWLRQRIILFHU
         WKHGHIHQGDQWVKDOODQVZHUWUXWKIXOO\DOOLQTXLULHVE\WKHSUREDWLRQRIILFHUDQGIROORZWKHLQVWUXFWLRQVRIWKHSUREDWLRQRIILFHU
         WKHGHIHQGDQWVKDOOVXSSRUWKLVRUKHUGHSHQGHQWVDQGPHHWRWKHUIDPLO\UHVSRQVLELOLWLHV
         WKHGHIHQGDQWVKDOOZRUNUHJXODUO\DWDODZIXORFFXSDWLRQXQOHVVH[FXVHGE\WKHSUREDWLRQRIILFHUIRUVFKRROLQJWUDLQLQJRURWKHU
          DFFHSWDEOHUHDVRQV
         WKHGHIHQGDQWVKDOOQRWLI\WKHSUREDWLRQRIILFHUDWOHDVWWHQGD\VSULRUWRDQ\FKDQJHLQUHVLGHQFHRUHPSOR\PHQW
         WKHGHIHQGDQWVKDOOUHIUDLQIURPH[FHVVLYHXVHRIDOFRKRODQGVKDOOQRWSXUFKDVHSRVVHVVXVHGLVWULEXWHRUDGPLQLVWHUDQ\
          FRQWUROOHGVXEVWDQFHRUDQ\SDUDSKHUQDOLDUHODWHGWRDQ\FRQWUROOHGVXEVWDQFHVH[FHSWDVSUHVFULEHGE\DSK\VLFLDQ
         WKHGHIHQGDQWVKDOOQRWIUHTXHQWSODFHVZKHUHFRQWUROOHGVXEVWDQFHVDUHLOOHJDOO\VROGXVHGGLVWULEXWHGRUDGPLQLVWHUHG
         WKHGHIHQGDQWVKDOOQRWDVVRFLDWHZLWKDQ\SHUVRQVHQJDJHGLQFULPLQDODFWLYLW\DQGVKDOOQRWDVVRFLDWHZLWKDQ\SHUVRQFRQYLFWHGRID
          IHORQ\XQOHVVJUDQWHGSHUPLVVLRQWRGRVRE\WKHSUREDWLRQRIILFHU
        WKHGHIHQGDQWVKDOOSHUPLWDSUREDWLRQRIILFHUWRYLVLWKLPRUKHUDWDQ\WLPHDWKRPHRUHOVHZKHUHDQGVKDOOSHUPLWFRQILVFDWLRQRIDQ\
          FRQWUDEDQGREVHUYHGLQSODLQYLHZRIWKHSUREDWLRQRIILFHU
        WKHGHIHQGDQWVKDOOQRWLI\WKHSUREDWLRQRIILFHUZLWKLQVHYHQW\WZRKRXUVRIEHLQJDUUHVWHGRUTXHVWLRQHGE\DODZHQIRUFHPHQWRIILFHU
        WKHGHIHQGDQWVKDOOQRWHQWHULQWRDQ\DJUHHPHQWWRDFWDVDQLQIRUPHURUDVSHFLDODJHQWRIDODZHQIRUFHPHQWDJHQF\ZLWKRXWWKH
          SHUPLVVLRQRIWKHFRXUWDQG

        DVGLUHFWHGE\WKHSUREDWLRQRIILFHUWKHGHIHQGDQWVKDOOQRWLI\WKLUGSDUWLHVRIULVNVWKDWPD\EHRFFDVLRQHGE\WKHGHIHQGDQW¶VFULPLQDO
          UHFRUG RU SHUVRQDO KLVWRU\ RU FKDUDFWHULVWLFV DQG VKDOO SHUPLWWKH SUREDWLRQ RIILFHU WR PDNH VXFK QRWLILFDWLRQV DQG WR FRQILUP WKH
          GHIHQGDQW¶VFRPSOLDQFHZLWKVXFKQRWLILFDWLRQUHTXLUHPHQW
          Case 1:13-cr-10007-SOH                      Document 162   Filed 06/06/14   Page 4 of 7 PageID #: 709
$2%     5HY -XGJPHQWLQD&ULPLQDO&DVH
           6KHHW&²6XSHUYLVHG5HOHDVH
                                                                                           -XGJPHQW²3DJH   4     RI        7
'()(1'$17 CURTIS J. COLE
&$6(180%(5 1:13CR10007-005

                                         SPECIAL CONDITIONS OF SUPERVISION
 1. The defendant shall comply with any referral deemed necessary by the probation officer for in-patient or out-patient
 evaluation, treatment, counseling, or testing for substance abuse.

 2. The defendant shall submit to a search of his person, real and/or personal property, residence, place of employment,
 and/or vehicle(s) conducted by the U.S. Probation Office based upon reasonable suspicion of criminal activity or a violation
 of any condition of supervised release. Failure to submit to search may be grounds for revocation.
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$2%    5HY -XGJPHQWLQD&ULPLQDO&DVH
          6KHHW²&ULPLQDO0RQHWDU\3HQDOWLHV
                                                                                                     -XGJPHQW²3DJH     5    RI         7
'()(1'$17 CURTIS J. COLE
&$6(180%(5 1:13CR10007-005
                                               CRIMINAL MONETARY PENALTIES
     7KHGHIHQGDQWPXVWSD\WKHWRWDOFULPLQDOPRQHWDU\SHQDOWLHVXQGHUWKHVFKHGXOHRISD\PHQWVRQ6KHHW

                      Assessment                                         Fine                              Restitution
TOTALS            $ 100.00                                             $ 0.00                           $ 0.00


G 7KHGHWHUPLQDWLRQRIUHVWLWXWLRQLVGHIHUUHGXQWLO                    $QAmended Judgment in a Criminal Case(AO 245C) ZLOOEHHQWHUHG
     DIWHUVXFKGHWHUPLQDWLRQ

G 7KHGHIHQGDQWPXVWPDNHUHVWLWXWLRQ LQFOXGLQJFRPPXQLW\UHVWLWXWLRQ WRWKHIROORZLQJSD\HHVLQWKHDPRXQWOLVWHGEHORZ
     ,IWKHGHIHQGDQWPDNHVDSDUWLDOSD\PHQWHDFKSD\HHVKDOOUHFHLYHDQDSSUR[LPDWHO\SURSRUWLRQHGSD\PHQWXQOHVVVSHFLILHGRWKHUZLVHLQ
     WKHSULRULW\RUGHURUSHUFHQWDJHSD\PHQWFROXPQEHORZ+RZHYHUSXUVXDQWWR86& L DOOQRQIHGHUDOYLFWLPVPXVWEHSDLG
     EHIRUHWKH8QLWHG6WDWHVLVSDLG

Name of Payee                                                             Total Loss*         Restitution Ordered Priority or Percentage




TOTALS                                                         0.00                               0.00


G    5HVWLWXWLRQDPRXQWRUGHUHGSXUVXDQWWRSOHDDJUHHPHQW

G    7KHGHIHQGDQWPXVWSD\LQWHUHVWRQUHVWLWXWLRQDQGDILQHRIPRUHWKDQXQOHVVWKHUHVWLWXWLRQRUILQHLVSDLGLQIXOOEHIRUHWKH
     ILIWHHQWKGD\DIWHUWKHGDWHRIWKHMXGJPHQWSXUVXDQWWR86& I $OORIWKHSD\PHQWRSWLRQVRQ6KHHWPD\EHVXEMHFW
     WRSHQDOWLHVIRUGHOLQTXHQF\DQGGHIDXOWSXUVXDQWWR86& J 

G    7KHFRXUWGHWHUPLQHGWKDWWKHGHIHQGDQWGRHVQRWKDYHWKHDELOLW\WRSD\LQWHUHVWDQGLWLVRUGHUHGWKDW

     G WKHLQWHUHVWUHTXLUHPHQWLVZDLYHGIRUWKH              G ILQH    G UHVWLWXWLRQ
     G WKHLQWHUHVWUHTXLUHPHQWIRUWKH              G ILQH    G UHVWLWXWLRQLVPRGLILHGDVIROORZV


 )LQGLQJVIRUWKHWRWDODPRXQWRIORVVHVDUHUHTXLUHGXQGHU&KDSWHUV$$DQG$RI7LWOHIRURIIHQVHVFRPPLWWHGRQRUDIWHU
6HSWHPEHUEXWEHIRUH$SULO
          Case 1:13-cr-10007-SOH                       Document 162              Filed 06/06/14            Page 6 of 7 PageID #: 711
$2%     5HY -XGJPHQWLQD&ULPLQDO&DVH
           6KHHW²6FKHGXOHRI3D\PHQWV

                                                                                                                -XGJPHQW²3DJH       6      RI          7
'()(1'$17 CURTIS J. COLE
&$6(180%(5 1:13CR10007-005

                                                        SCHEDULE OF PAYMENTS

+DYLQJDVVHVVHGWKHGHIHQGDQW¶VDELOLW\WRSD\SD\PHQWRIWKHWRWDOFULPLQDOPRQHWDU\SHQDOWLHVLVGXHDVIROORZV

A    ✔ /XPSVXPSD\PHQWRI 100.00
     G                                                          GXHLPPHGLDWHO\EDODQFHGXH

          G QRWODWHUWKDQ                                           RU
          ✔ LQDFFRUGDQFH
          G                              G &          G '     G      (RU     ✔ )EHORZRU
                                                                                 G
B    G 3D\PHQWWREHJLQLPPHGLDWHO\ PD\EHFRPELQHGZLWK                     G &       G 'RU       G )EHORZ RU
C    G 3D\PHQWLQHTXDO                              (e.g., weekly, monthly, quarterly) LQVWDOOPHQWVRI                            RYHUDSHULRGRI
                           (e.g., months or years)WRFRPPHQFH                       (e.g., 30 or 60 days)DIWHUWKHGDWHRIWKLVMXGJPHQWRU

D    G 3D\PHQWLQHTXDO                              (e.g., weekly, monthly, quarterly)LQVWDOOPHQWVRI                         RYHUDSHULRGRI
                           (e.g., months or years)WRFRPPHQFH                       (e.g., 30 or 60 days)DIWHUUHOHDVHIURPLPSULVRQPHQWWRD
          WHUPRIVXSHUYLVLRQRU

E    G 3D\PHQWGXULQJWKHWHUPRIVXSHUYLVHGUHOHDVHZLOOFRPPHQFHZLWKLQ                    (e.g., 30 or 60 days)DIWHUUHOHDVHIURP
          LPSULVRQPHQW7KHFRXUWZLOOVHWWKHSD\PHQWSODQEDVHGRQDQDVVHVVPHQWRIWKHGHIHQGDQW¶VDELOLW\WRSD\DWWKDWWLPHRU

F    ✔ 6SHFLDOLQVWUXFWLRQVUHJDUGLQJWKHSD\PHQWRIFULPLQDOPRQHWDU\SHQDOWLHV
     G
           If not paid immediately, any unpaid financial penalty imposed shall be paid during the period of incarceration at a
           rate of not less than $25.00 quarterly, or 10% of the defendant’s quarterly earnings, whichever is greater. After
           incarceration, any unpaid financial penalty shall become a special condition of supervised release and may be
           paid in monthly installments of not less than 10% of the defendant's net monthly household income, with the entire
           balance to be paid in full one month prior to the termination of supervised release.

8QOHVVWKHFRXUWKDVH[SUHVVO\RUGHUHGRWKHUZLVHLIWKLVMXGJPHQWLPSRVHVLPSULVRQPHQWSD\PHQWRIFULPLQDOPRQHWDU\SHQDOWLHVLVGXHGXULQJ
LPSULVRQPHQW  $OO FULPLQDO PRQHWDU\ SHQDOWLHV H[FHSW WKRVH SD\PHQWV PDGH WKURXJK WKH )HGHUDO %XUHDX RI 3ULVRQV¶ ,QPDWH )LQDQFLDO
5HVSRQVLELOLW\3URJUDPDUHPDGHWRWKHFOHUNRIWKHFRXUW

7KHGHIHQGDQWVKDOOUHFHLYHFUHGLWIRUDOOSD\PHQWVSUHYLRXVO\PDGHWRZDUGDQ\FULPLQDOPRQHWDU\SHQDOWLHVLPSRVHG



G -RLQWDQG6HYHUDO
     'HIHQGDQWDQG&R'HIHQGDQW1DPHVDQG&DVH1XPEHUV(including defendant number)7RWDO$PRXQW-RLQWDQG6HYHUDO$PRXQW
     DQGFRUUHVSRQGLQJSD\HHLIDSSURSULDWH




G 7KHGHIHQGDQWVKDOOSD\WKHFRVWRISURVHFXWLRQ
G 7KHGHIHQGDQWVKDOOSD\WKHIROORZLQJFRXUWFRVW V 
G 7KHGHIHQGDQWVKDOOIRUIHLWWKHGHIHQGDQW¶VLQWHUHVWLQWKHIROORZLQJSURSHUW\WRWKH8QLWHG6WDWHV



3D\PHQWVVKDOOEHDSSOLHGLQWKHIROORZLQJRUGHU  DVVHVVPHQW  UHVWLWXWLRQSULQFLSDO  UHVWLWXWLRQLQWHUHVW  ILQHSULQFLSDO
  ILQHLQWHUHVW  FRPPXQLW\UHVWLWXWLRQ  SHQDOWLHVDQG  FRVWVLQFOXGLQJFRVWRISURVHFXWLRQDQGFRXUWFRVWV
          Case 1:13-cr-10007-SOH                       Document 162           Filed 06/06/14            Page 7 of 7 PageID #: 712
$2%     5HY -XGJPHQWLQD&ULPLQDO&DVH
           6KHHW²'HQLDORI)HGHUDO%HQHILWV

                                                                                                             -XGJPHQW²3DJH      7     RI        7
'()(1'$17 CURTIS J. COLE
&$6(180%(5 1:13CR10007-005
                                                   DENIAL OF FEDERAL BENEFITS
                                             (For Offenses Committed On or After November 18, 1988)

FOR DRUG TRAFFICKERS PURSUANT TO 21 U.S.C. § 862

          ,7,625'(5('WKDWWKHGHIHQGDQWVKDOOEH

G LQHOLJLEOHIRUDOOIHGHUDOEHQHILWVIRUDSHULRGRI                                             

G LQHOLJLEOHIRUWKHIROORZLQJIHGHUDOEHQHILWVIRUDSHULRGRI                                                   
     (specify benefit(s))




                                                                         OR
✔ Having
G         determined that this is the defendant's third conviction for distribution of controlled substances, IT IS ORDERED that he shall be permanently
  ineligible for all federal benefits. Ineligibility shall be suspended upon completion of a drug treatment program in accordance with 21 U.S.C. § 862(c).

FOR DRUG POSSESSORS PURSUANT TO 21 U.S.C. § 862(b)

     ,7,625'(5('WKDWWKHGHIHQGDQWVKDOO

G EHLQHOLJLEOHIRUDOOIHGHUDOEHQHILWVIRUDSHULRGRI                                          

G EHLQHOLJLEOHIRUWKHIROORZLQJIHGHUDOEHQHILWVIRUDSHULRGRI                                                

     (specify benefit(s))




     G     VXFFHVVIXOO\FRPSOHWHDGUXJWHVWLQJDQGWUHDWPHQWSURJUDP

     G     SHUIRUPFRPPXQLW\VHUYLFHDVVSHFLILHGLQWKHSUREDWLRQDQGVXSHUYLVHGUHOHDVHSRUWLRQRIWKLVMXGJPHQW

           ,6)857+(525'(5('WKDWWKHGHIHQGDQWVKDOOFRPSOHWHDQ\GUXJWUHDWPHQWSURJUDPDQGFRPPXQLW\VHUYLFHVSHFLILHGLQWKLV
           MXGJPHQWDVDUHTXLUHPHQWIRUWKHUHLQVWDWHPHQWRIHOLJLELOLW\IRUIHGHUDOEHQHILWV



                  Pursuant to 21 U.S.C. § 862(d), this denial of federal benefits does not include any retirement, welfare, Social Security,
health, disability, veterans benefit, public housing, or other similar benefit, or any other benefit for which payments or services are
required for eligibility. The clerk is responsible for sending a copy of this page and the first page of this judgment to:


                               U.S. Department of Justice, Office of Justice Programs, Washington, DC 20531
